         Case 1:17-cv-11165-FDS Document 204 Filed 02/28/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


PETER MARCUS, MATT KOLTNOW,
DIANNE BARTON-PAINE, on behalf of
themselves and all others similarly situated,

                   Plaintiffs,
                                                    Civil Action No. 1:17-CV-11165-FDS
       v.

THE AMERICAN CONTRACT BRIDGE
LEAGUE,

                   Defendant.


                            DEFENDANT’S NOTICE OF APPEAL


       Notice is hereby given that defendant the American Contract Bridge League (“ACBL”)

hereby appeals to the United States District Court of Appeals for the First Circuit from (1) the

Memorandum and Order on Cross-Motions for Summary Judgment dated March 24, 2021 [Docket

No. 174], as to the Court’s ruling that “Tournament Directors are not subject to the administrative

exemption under the FLSA,” and (2) the Final Judgment and Order entered in this action on

February 7, 2022 [Docket No. 202].
        Case 1:17-cv-11165-FDS Document 204 Filed 02/28/22 Page 2 of 3




                                       Respectfully submitted,

                                       THE AMERICAN CONTRACT BRIDGE
                                       LEAGUE,

                                       By its attorneys,



                                       /s/ Melissa L. McDonagh
                                       Melissa L. McDonagh, BBO No. 569023
                                       mmcdonagh@littler.com
                                       Francis J. Bingham, BBO No. 682502
                                       fbingham@littler.com

                                       LITTLER MENDELSON, P.C.
                                       One International Place
                                       Suite 2700
                                       Boston, MA 02110
                                       Telephone: 617.378.6000
                                       Facsimile: 617.737.0052

                                       Paul E. Prather (admitted Pro Hac Vice)
                                       pprather@littler.com

                                       LITTLER MENDELSON, P.C.
                                       3725 Champion Hills Drive, Suite 3000
                                       Memphis, TN 38125
                                       (901) 322-1257 (t)
                                       (901) 271-7189 (f)

Dated: February 28, 2022




                                     -2-
           Case 1:17-cv-11165-FDS Document 204 Filed 02/28/22 Page 3 of 3




                                     CERTIFICATE OF SERVICE

         I, Melissa L. McDonagh, hereby certify that on this 28th day of February 2022, the

foregoing document was filed electronically through the ECF system, is available for viewing and

downloading from the ECF system, will be sent electronically to counsel of record as registered

participants identified on the Notice of Electronic Filing and via first class mail to all non-

registered participants identified on the Notice of Electronic Filing.



                                                      /s/ Melissa L. McDonagh
                                                      Melissa L. McDonagh
4882-0210-5613.1 / 070438-1015




                                                -3-
